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                 EXHIBIT 53
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                                                                            Page 1

1                           IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF OHIO
2                                   EASTERN DIVISION
3
            ______________________________
4
            IN RE:      NATIONAL PRESCRIPTION                MDL No. 2804
5           OPIATE LITIGATION                                Case No. 17-md-2804
6
            This document relates to:                        Judge Dan
7                                                            Aaron Polster
8           The County of Cuyahoga v. Purdue
            Pharma, L.P., et al.
9           Case No. 17-OP-45005
10          City of Cleveland, Ohio vs. Purdue
            Pharma, L.P., et al.
11          Case No. 18-OP-45132
12          The County of Summit, Ohio,
            et al. v. Purdue Pharma, L.P.,
13          et al.
            Case No. 18-OP-45090
14          _______________________________
15
16
17
18                   Videotaped Deposition of Joseph Rannazzisi
19                                Washington, D.C.
20                                 April 26, 2019
21                                     8:37 a.m.
22
23
24          Reported by:      Bonnie L. Russo
25          Job No. 3301876

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1           a -- it was at a conference involving multiple
2           disciplines within industry and the regulated
3           -- the regulators.
4                        And it came up in a conversation,
5           but I -- I don't recall exactly when.
6                        BY MR. O'CONNOR:
7                 Q.     In your understanding, do
8           charge-backs have any role in the suspicious
9           order monitoring process?
10                       MR. UTTER:         Go ahead.       You can
11          answer.
12                       THE WITNESS:           They may, yes.
13                       BY MR. O'CONNOR:
14                Q.     Did DEA ever issue any guidance to
15          manufacturers informing them that charge-backs
16          were to play a role in suspicious order
17          monitoring?
18                A.     D --
19                       MR. BENNETT:           Objection.     Vague.
20          And vague as to time.
21                       THE WITNESS:           DEA doesn't -- DEA
22          does not tell a registrant or either the man --
23          or a registrant involved in distribution
24          activities what's a suspicious order, besides
25          the -- the definition in 1301.74(b).

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1                        It's up to the -- the distributor or
2           the manufacturer, distributor to make a
3           decision what information they will use to
4           determine a suspicious orders.
5                        BY MR. O'CONNOR:
6                 Q.     So DEA never issued any guidance to
7           manufacturers informing them that charge-backs
8           were to play a role in suspicious order
9           monitoring, correct?
10                       MS. SINGER:          Objection.      Asked and
11          answered.
12                       BY MR. O'CONNOR:
13                Q.     I would just like a yes-or-no
14          answer.
15                       MS. SINGER:          Objection.
16                       MR. BENNETT:           Objection.
17                       The witness can answer the question.
18                       THE WITNESS:           Besides the
19          regulations and the C.F.R. -- in the CSA, no, I
20          don't know if they ever issued a regulation --
21          any kind of document regarding chargebacks.
22                       BY MR. O'CONNOR:
23                Q.     Okay.     When you were head of the
24          Office of Diversion Control, there was a unit
25          within that office that analyzed ARCOS data,

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1           correct?
2                  A.    Yes.
3                  Q.    Did that group use ARCOS data to
4           look for leads for investigations?
5                  A.    They can, yes.
6                  Q.    Did they, in fact, do that?
7                  A.    Yes.
8                  Q.    And would you agree that analyzing
9           the ARCOS data was helpful to the agency in
10          generating leads for investigations?
11                       MR. BENNETT:            Objection.     Vague.
12          And vague as to time.
13                       THE WITNESS:            The analysis of ARCOS
14          information can help, yes, leads for
15          investigations.
16                       BY MR. O'CONNOR:
17                 Q.    Did the DEA use ARCOS for
18          investigative leads in a timely manner in your
19          view?
20                       MS. SINGER:           Objection.      Vague.
21                       MR. BENNETT:            Objection.     Vague.
22          And objection.         Scope.        Regarding opinions.
23                       THE WITNESS:            I don't understand
24          what you mean by "in a timely manner."
25                       ARCOS is generally three to six

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